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l Ahmad J. Ekhlas
43 Edelweiss

2 RSM, CA 92633

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8 UNI'IED STATES DISTRICT COURT

W§ 9 CENTRAL marrch QF €:ALIFORNIA
’ 10
SGUTHERN DIVISION
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13 Ahmad J. Ekhlas, §
14 Piaintiff, Case No.:
15 vs_ COMPLADJT
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INTEGRITY sOLUTION SERVICES, INC, TRIAL BY mm DEMANDED
17
De£endant.

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21 1. This is an action for damages brought from vio§ations of the Fair Credit Reporting Act

22 (hereinafter “FCRA”) 15 U.S.C. §§681 et seq., the Fair Debt Collection Practices Act

:: (hereinafter “FDCPA”) 15 U.S.C. §1692 et seq,, and the Rosenthal Fair Deb€ Collection
' 25 Practic% Act (hereina.ii“er “RFDCPA”) Calii`<)mia Civi§ C€)de I?SS et seq

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COMPLAB\IT pagel

 

 

 

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This court has jurisdiction under 15 U‘S.C. §1681p, 15 U.S.C. § 16921<(€1), Ca.lifornia Civil
Code 1788.30(£), and 28 U.S.C. § 1331
All conditions precedent have occurred or been perfonned.
M

The occurrences giving rise to this ac€ion occurred in Orange Coun'zy, Califo:mia., and
Plaimiff resides in Orange County, Caiifomia.
`Venue is proper in the Central Distriot of Califomia, Southem Division pursuant to 28
U.S.C § 1391

PARTEES
The Plainti§f`, Ahmad J. Ekhles (hefeina’iier “Piaintif£”), is a manual person residing in
Orange County, Califomia.
Plaintiff is a “consurner” Within the meaning of the FCRA, 15 U.S.C. § 168121(¢), and the
FDCPA 35 U.S.C. § 1692a(3).
Plainti€{:` is a “debtor” as defined by the RFDCPA California Civi} Code 17 88.2(h).
The Defendant, INTEGRI'IY SOLUTION SERVICES, §NC, (hereina&er “INTEGRITY”),
is a Missou;ri business entity With offices at 26 Corporaie Hiils Drive, St. Charies MO
633()1.
Defendant, H\ITEGRITY, is a “person” within the meaning ofthe F€RA, §§ U.S.C. §
lesla(b).
Defendant, INTEGRITY, is a “debt col£ector” within the meaning of the FDCPA, 15
U.S,C‘ § 16923(6) , and the RFDCPA Califomia Civil Code 1?88.2.

FACTUAL ALLEGAT}GNS APPL§CA§LE 'I`Q AL§... CG{)NTS

COMPLAINT page 2

 

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TransUnion is a “consumer reporting agency” within the meaning of the FCRA, 15 U.S.C.
§ 1681 a(i).
Plaintit`f obtained his consumer reports from the major consumer reporting agencies and
found entries Within the reports by entities that he was unfamiliar With.
Plaintiff found after examination of his TransUnion consumer report that Defendant,
INTEGRITY, had obtained I’laintiff’ s TransUnion consumer report in Juiy 2012.
Defendant, INTEGRITY, attempted to collect a “debt”, as defined in 15 U.S.C. §
1 692a(5).
In attempting to collect said debt, defendant, INTEGRITY, engaged in “oommunications”
as defined in 15 U.S.C. § 1692a(2).
Discovery of the Defendant’s actions occurred in Aprii 2013 and are Within the statute of
linnta:tions as defined in the FCRA, 15 U.S.C. § 1681;).
Discovery ot` the De§endant’s actions has caused Piaintiff emotional distress
A11 violations complained of herein occurred Within the statute of limitations of the
applicable statutes both state and federal
Plaintiff sent a notice to Defendant, INTEGRITY, of their violation of the FCRA, FDCPA,
and RFDCPA in an effort to mitigate damages and reach a settlement for their violations in
obtaining Plaintii"f’s consumer report before taking civii action against them Piaintiit`
engaged in discussions With counsel representing 1NTEGR1TY' but failed to reach an
acceptabIe agreement regarding damages to be paid to Plaintift`.

CGUNT §

VIGLAT§GN 917 'I`HE FCRA 15 U.S.C. § 1681 E’§` SEQ.,

W§LLFUL AND/{)R KN€)WING NONCOMPL!ANCE BY DEFENDANT INTEGRITY

COMPLAINT page 3

 

 

 

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Plaintift` repeats and re-alleges each and every allegation stated above as though fully
stated herein

The FCRA, 15 U.S.C. § 1681b dennes the permissible purpose for Which a person may
obtain a consumer report

Such permissible purposes as defined by 15 U.S.C. § 1681b are generally, if the consumer
makes application for credit, employment, underwriting of insurance involving the
consumer, or is offered a bona tide offer of credit as a result ofthe inquiry

Plaintit`f has never had any business dealings or any accounts with, made application for
credit from, made application for employment With, applied for insurance from, nor
received a bona fide oH`er of credit l`roin the Defendant, INTEGRITY.

At no time did Plaintift` give his consent for Defendant, lNTEGRITY, to acquire his
consumer report from any consumer reporting agency

Defendant, H\ITEGRITY, demonstrated willful and/or knowing noncompliance With the
FCRA, 15 U.S.C. § 1681b by obtaining Plaintift" s TransUnion consumer report on July l,
ZOIZ With no permissible propose

Defendant, INTEGRITY, willfully and/or knowingly obtained Plaintift”s consumer report
With no permissible purpose violating the FCR_A, 15 U.S.C. § 1681b and violating
Plaintift"s right to privacy

Defendant, INTEGRITY, had a duty to properly ascertain if there Was any legitimate
permissible purpose before obtaining Plaintiff" s consumer report and INTEGRITY
breached said duty by failing to do so. Tlrere Was no account that INTEGRITY had any
right to collect to have had permissible purpose to obtain Plaintiff’ s consumer report and

therefore Plaintiff is entitled to damages

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PRAY~ER FGR RELIEF
WHEREFORE, Plaintiif prays for relief and judgment in Plaintif£"s favor, as follows:
a. Adjudging that Defendant, INTEGRITY, violated the FCRA.
b, Awarding Plajntiff statutory damages7 pursuant to the FCRA 15 U.S.C. § 168111 in the
amount of $l€){){}, against Defendant;
c. Awarding Plaintift` actual damages in the amount of $l(}()(), against Defendant;
d. Awarding Plaintifl` any attomey’s fees and costs incurred in this action, against
Defeodant;
e. Awatding Plaintiff any pre-judgment and post-judgment interest as may be allowed
outlet the law, against Defeadant;
t`. Awarding Plainti&` such other and further relief as the Cou:t may deem just and proper,
against Defenclant.
;C.:Q;..U§lli
VEOLA'E`IGN OF THE FDCPA 35 U.S.C. § 1692 E'E` SEQ.
WILLFUL AND!OK KN€}WING NSNCGMPLIANCE BY DEFEN"BANT INTEGRITY
29. Plaintiff repeats and re-alleges each and every allegation stated above as though fully
stated herein
30. Defendant, INTEGRITY, failed to Send Plaintti`f a Written notice within five days after the
initial communication in violation of 15 U.S.C. § 16921g(a).
31. Defendant, INTEGRITY, had a duty to properly ascertain if there was any legitimate debt
owed to defendant before attempting to collect a debt from Plaintif£`, and Defendant
breached said duty by failing to do so, and therefore Plaintiff is entitled to damages

WHEREFGRE, Plaintii`f prays for relief and judgment in Plaintifl"s favor, as follows

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g. Adjudgirig that Defendant, lNI'EGRITY, violated the FDCPA.
h. Awardirrg Plairiti§` statutory damages pursuant to the FDCPA 15 U.S.C. § 16921< in
the amount of $ lOOO, against Defendant;
i. Awarding Plaintiit actual damages iri the amount of $l()(}@ against Defendant;
j. Awarding Plairttiit` any attomey’s fees and costs incurred in this aetion, against
Defendant;
k. Award`mg Plaintii’f any pre-judgment and post-judgment interest as may be allowed
under the law, against Defendaot;,
l. Awardirig Plaintift` such other and timber relief as the Coart may deem just and proper,
against Defendant. v
CGUNT §§
VI€)LATI€)N GF THE RFDCPA
WILLFUL AN})!OR KNGWING NONCOMPLIANCE BY DEFENDANT INTEGRITY
32. Plaintit`t` repeats and re-a§feges each and every aifegation stated above
33. Defendaot, INTEGRETY, has demonstrated willful and!or knottng noncompliance With
RFDCPA l?SS. 17 by failing to comply Witli the provisions of 15 U.S.C. § 1692b to 1692}.
34. Defendant, INTEGRITY, had a duty to properly ascertain if there Was a;oy legitimate debt
owed to defendant before attempting to collect a debt from Plairrti£i`, and Befendant
breached said duty by failing to do so, and therefore Plaintit`t` is entitled to damages
WHEREF{)RE, PlaintiH` prays for relief and judgment in Plaintift”s favor, as follows:
m. Adjudging that Deferidarrt, INTBGRETY, viofated the RFDCPA.
n. Awarding Plaintift` statutory damages, pursuant to the RFDCPA 1?88.30 in the amount

of $1000, against Defendant;

COMPLAlNT page 6

 

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WHEREFGRE, Plaintii`f prays for relief and judgment in Piaintirf’s favor, as follows:
m. Adjudging that Defendant, INTEGRITY, violated the RFDCPA.
n. Awarding Piaintift` statutory damages, pursuant to the RFDCPA 1788.3€} in the amount
of $1€)00, against Defendant;,
0. Awarding Piaintift` actual damages in the amount of $}000, against Det`endant;
p. Awarding Plaintiff any attorney’s fees and costs incurred in this actioa, against
Defendant;
q. Awarding Piaintiff any pre-j edginth and postjudgment interest as may be aliowed
under the law, against Det`endant;,
r. Awardirrg Plaintift` such other and further reiiet` as the Conrt may deem just and proper,
against Defendant.
DEMAND F()R TRIAL BY JURY
Plaintit`t` hereby demands a trial by jury of ali issues so triable as a matter ot`iaw.
Dated: June 27, 2013

Respectful}y Submitted,
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RSM, CA 92688

 

C()MPLAB\IT page 7

 

 

